      Case 1:07-cr-00245-LJO Document 108 Filed 03/05/09 Page 1 of 2
     Robert D. Wilkinson #100478
 1        B AK E R M AN O C K & J E N S E N , P C
               A P RO F ES SI O NA L CO RP ORA TI O N
            F IG G A R D E N F IN A N C IA L C E N T E R
 2      5260 NORTH PALM AVENUE, FOURTH FLOOR
          FRESNO, CALIFORNIA 93704-2209
 3           TE L E P H O N E (559) 432-5400
             TE L E C O P IE R (559) 432-5620

 4
                           Defendant DONNA MARQUE NELSON
 5   Attorneys for

 6

 7

 8                                                         UNITED STATES DISTRICT COURT

 9                                                     EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,            )                            Case No.1:07 CR 00245 LJO
                                          )
12                             Plaintiff, )
                                          )
13         v.                             )                            STIPULATION FOR RETURN OF DEFENDANT
                                          )                            DONNA MARQUE NELSON’S PERSONAL
14   DONNA MARQUE NELSON, et al.,         )                            PROPERTY
                                          )
15                           Defendants. )
     ___________________________________)
16

17                         WHEREAS, a search warrant was served on the residence of Donna Nelson at 790

18   Broadway, Apartment B, Atwater, California, on July 28, 2007, by the Merced/Multi-Agency

19   Narcotic Task Force;

20                         WHEREAS, during the execution of the search warrant personal property of

21   Ms. Nelson was seized;

22                         WHEREAS, Ms. Nelson has pled guilty and has been sentenced in this matter;

23                         THE PARTIES HERETO, by and through authorized counsel, hereby stipulate that

24   the following items of personal property may be returned to Ms. Nelson’s attorney, Robert D.

25   Wilkinson, who will provide them to Ms. Nelson:

26    ITEM NO.                   DESCRIPTION                                            LOCATION FOUND
27    124-015                    Classic Pooh Address Book                              Living room, desk
28    124-016                    Paperback address book                                 Living room, desk
       Case 1:07-cr-00245-LJO Document 108 Filed 03/05/09 Page 2 of 2

 1    124-026                   Seven miscellaneous photographs                  Master bedroom, wall

 2    124-027                   Photo album of miscellaneous photographs         Master bedroom, night stand
                                                                                 area
 3

 4                         And any other personal property items no longer needed as evidence in the above-

 5   referenced matter.

 6                         DATED: March 4, 2009.

 7                                                                Lawrence G. Brown
                                                                  Acting United States Attorney
 8

 9
                                                                  By /s/ Marlon Cobar
10                                                                Marlon Cobar
                                                                  Assistant U.S. Attorney
11

12                         DATED: March 4, 2009.

13                                                                BAKER MANOCK & JENSEN

14

15                                                                By /s/ Robert D. Wilkinson
                                                                  Robert D. Wilkinson
16                                                                Attorneys for Defendant DONNA MARQUE
                                                                  NELSON
17

18                                                       ORDER

19

20

21   K:\LJO\To_Be_Signed\07cr245.stipulation.wpd
     10924.0021   IT IS SO ORDERED.
22
     Dated:          March 5, 2009                          /s/ Lawrence J. O'Neill
23   b9ed48                                             UNITED STATES DISTRICT JUDGE

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